                   Case 4:95-cr-00123-WTM-CLR Document 1255 Filed 07/09/15 Page 1 of 1
AO 247 (JO/Il) Order Regarding Motion for Sentence Reduction Pursuant to 18 USC. * 3582(c)(2)                                Page I of2 (Page 2 Not for Public Disclosure)




                                                               UNITED STATES DISTRICT COURT                                      S14
                                                                               for the
                                                                     Southern District of Georgia
                                                                         Savannah Division

                       United States of America                                        )
                                        V.                                             )
                                                                                            Case No: 4:95-CR-00123-23
     John Curry Jackson, aka Hasan Alii Rashad Jackson, Jr.                            )



                                                                                       )    USM No: 20920-039
Date of Original Judgment:                   April 23. 1996                            ) Thomas J. Mahoney, III
Date of Previous Amended Judgment: N/A                                                 ) Defendant's Attorney
(Use Dale of Last Amended Judgment, if an),)



                                          Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)


        Upon motion of Ethe defendant                           El
                                                  the Director of the Bureau of Prisons Dthe court under 38 U.S.C.
§ 3582(c)(2) for a reduction  in the term of imprisonment  imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG § I 1.10 and
the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
    DENIED.          El
             GRANTED and the defendant's previously imposed sentence of imprisonment (as refkcted in the fact Judgment
             issued) of         months is reduced to


                                                    (Complete Parts I and 11 of Page 2 when motion is granted)




Except as otherwise provided above, all provisions of the judgment dated April 23. 1996,                                shall remain in effect.
IT IS SO ORDERED.

Order Date:                               4                                                                   Judge's signature


                                                                                            William T. Moore, Jr.
                                                                                            Judge, U.S. District Court
Effective Date: November I. 2015                                                            Southern District of Georgia
                 (if diJTerentJio,n order elate)                                                             Printed name and title
